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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

SONTERRA CAPITAL MASTER FUND, LTD., on
behalf of itself and all others similarly situated,

                                            Plaintiffs,
                                                          Docket No. 15-cv-3538 (VSB)
                     - against -

BARCLAYS BANK PLC, BARCLAYS CAPITAL INC.,
COÖPERATIEVE CENTRALE RAIFFEISEN-                         DECLARATION OF LEE J.
BOERENLEENBANK B.A., DEUTSCHE BANK AG,                    LEFKOWITZ IN SUPPORT OF
LLOYDS BANKING GROUP PLC, THE ROYAL                       PLAINTIFFS’ MEMORANDUM
BANK OF SCOTLAND PLC, UBS AG, AND JOHN                    OF LAW IN OPPOSITION TO
DOE NOS. 1-50,                                            DEFENDANTS’ MOTION TO
                                                          DISMISS FOR LACK OF
                                         Defendants.      PERSONAL JURISDICTION

FRONTPOINT EUROPEAN FUND, L.P., and
RICHARD DENNIS, on behalf of themselves and all
others similarly situated,

                                            Plaintiffs,

                     - against -

BARCLAYS BANK PLC, BARCLAYS CAPITAL,
INC., COÖPERATIEVE CENTRALE
RAIFFEISEN-BOERENLEENBANK B.A.,
DEUTSCHE BANK AG, LLOYDS BANKING
GROUP PLC, THE ROYAL BANK OF SCOTLAND
PLC, UBS AG, AND JOHN DOE NOS. 1-50,

                                         Defendants.
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        1.      I, Lee J. Lefkowitz, pursuant to 28 U.S.C. § 1746, hereby declare under

penalty of perjury that the following is true and correct:

        2.      I am a member in good standing of the Bar of the State of New York and am

admitted to practice before this Court.

        3.      I am an associate of the law firm of Lowey Dannenberg Cohen & Hart, P.C.,

counsel for Plaintiffs and proposed interim class counsel in this action, and as such, I am

familiar with these proceedings and the matters stated below.

        4.      I submit this Declaration in Support of Plaintiffs’ Memorandum of Law in

Opposition to Defendants’ Motion to Dismiss for Lack of Personal Jurisdiction

(“Opposition Brief”), filed concurrently herewith. This Declaration presents facts and

exhibits which Plaintiffs assert are relevant to jurisdiction over Defendants in the United

States and in this forum.

        5.      Attached as Exhibit 1 is the User’s Guide to the 1992 International Swaps

and Derivatives Association, Inc. (“ISDA”) Master Agreement, available at

http://assets.isda.org/media/e0f39375/fb087821.pdf, and the User’s Guide to the 2002

ISDA Master Agreement, available at http://assets.isda.org/media/e0f39375/520cff57-pdf/.

        6.      In each ISDA Master Agreement, the parties must specify the substantive

law that will govern disputes arising from the agreement. Both the 1992 and 2002 ISDA

Master Agreements include governing law and jurisdiction provisions set forth in paragraphs

13(a) and 13(b), respectively, which require parties to choose either English or New York

law and courts, or to otherwise specify the applicable law and court of jurisdiction. The

parties make their designation in an attached Schedule to the ISDA Master Agreement,

which applies to any dispute arising from the agreement.


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        7.      Attached as Exhibit 2 is a copy of the signature page and schedules of

Plaintiff FrontPoint’s ISDA Master Agreement with Defendant UBS, dated May 1, 2007 in

which the parties consented to New York as the governing law (see Schedule, Part 4(h)) and,

consequently, consented to jurisdiction in this District and in New York state courts for

resolution of disputes.

        8.      Attached as Exhibit 3 is a copy of the ISDA and schedule of Plaintiff

FrontPoint’s ISDA Master Agreement with Defendant UBS, dated March 1, 2009 in which

the parties consented to New York as the governing law (see Schedule, Part 4(h)) and,

consequently, consented to jurisdiction in this District and in New York state courts for

resolution of disputes.

        9.      Attached as Exhibit 4 is a copy of one sample trade confirmation between

FrontPoint and UBS under the May 1, 2007 ISDA Master Agreement, dated November 22,

2007. FrontPoint executed Sterling LIBOR-based derivatives trades from at least March 17,

2006 until at least December 17, 2010 with UBS and until at least May 16, 2011 with others.

        10.     Parties must select the governing law in OTC derivatives transactions via a

Schedule to the Master Agreement, or a novation or a trade confirmation subsequent to

executing the ISDA Master Agreement. To date, Plaintiffs have found numerous examples

of various Defendants selecting New York as the governing law and as the forum where

jurisdiction lies over the parties when their trading counterparty was U.S.-based:

                a. Exhibit 5 is an ISDA Master Agreement executed during the Class
                   Period by Defendant Barclays Bank PLC and a U.S. counterparty,
                   Accredited Mortgage Home Loan Trust 2006-2, dated June 29, 2006. The
                   agreement provides for jurisdiction in New York. See Exhibit 5 at page
                   10, Schedule to the Master Agreement, Part 4(g) “Governing Law” and
                   paragraph “(h) Jurisdiction”, available at
                   http://www.sec.gov/Archives/edgar/data/1365364/0001193125061419
                   69/dex102.htm

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       b. Exhibit 6 is the Schedule to an ISDA Master Agreement executed during
          the Class Period by Defendant Barclays Bank PLC and a U.S.
          counterparty, World Omni Auto Receivables Trust 2007-B, dated
          September 26, 2007. The agreement provides for exclusive jurisdiction of
          the New York Courts. See Exhibit 6 at page 13, Schedule to the ISDA
          Master Agreement Part 4(h), “Governing Law”, available at
          http://www.sec.gov/Archives/edgar/data/1083199/0001193125072107
          24/dex995.htm

       c. Exhibit 7 is an amended rate swap confirmation during the Class Period
          between Defendant Barclays Bank PLC and a U.S. counterparty,
          National Cinemedia LLC, dated February 16, 2010. New York law
          governs the trade. See Exhibit 7 at page 7 “Governing Law”, available at
          http://www.sec.gov/Archives/edgar/data/1377630/0001193125100504
          98/dex1037.htm

       d. Exhibit 8 is an ISDA Master Agreement executed during the Class
          Period by Defendant Deutsche Bank AG, New York Branch and a U.S.
          counterparty, Novastar Mortgage Supplemental Interest Trust, Series
          2005-1, dated February 22, 2005. The agreement provides for jurisdiction
          in New York. See Exhibit 8 at page 13, paragraph 12 (a) “Governing
          Law” and paragraph 12 (b) “Jurisdiction” and page 26, the Schedule to
          the Master Agreement, Paragraph (h) “Governing Law”, available at
          http://www.sec.gov/Archives/edgar/data/1052549/0001193125050456
          44/dex107.htm

       e. Exhibit 9 is an ISDA Master Agreement executed during the Class
          Period by Defendant Deutsche Bank AG, New York Branch and a U.S.
          counterparty, HSBC Bank USA, N.A. as trustee for the Supplemental
          Interest Trust for Deutsche Alt-A Securities Mortgage Loan Trust, Series
          2006-AR4, dated September 29, 2006. The agreement provides for
          jurisdiction in New York. See Exhibit 9 at page 8, Schedule to the Master
          Agreement, paragraph 4(h) “Governing Law”, available at
          http://www.sec.gov/Archives/edgar/data/1375561/0001162318060013
          86/m1033exhibit997.htm

       f. Exhibit 10 is an ISDA Master Agreement executed during the Class
          Period by Defendant Deutsche Bank AG, New York Branch and a U.S.
          counterparty, Capital Auto Receivables Asset Trust 2007-1, dated April
          26, 2007. The agreement provides for exclusive jurisdiction of the New
          York Courts. See Exhibit 10 at page 14, paragraph 13 (a) “Governing
          Law”, paragraph 13 (b)“ Jurisdiction” and the Schedule to the Master
          Agreement at page 33, Part 4(h) “Governing Law; Jurisdiction”, available
          at
          http://www.sec.gov/Archives/edgar/data/893958/00009501370700639
          3/k14633exv99w4.htm

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       g. Exhibit 11 is a share repurchase transaction confirmation during the
          Class Period between Defendant Barclays Capital, Inc., acting as agent
          for Barclays Bank PLC, and a U.S. counterparty, The Hanover Insurance
          Group, Inc., dated December 8, 2009. New York law governs the trade.
          See Exhibit 11 at pages 1 and 18, Part 5(s) “Governing Law”, available at
          http://www.sec.gov/Archives/edgar/data/944695/00011931250924969
          4/dex101.htm

       h. Exhibit 12 is an ISDA Master Agreement executed during the Class
          Period by Defendant UBS AG and a U.S. counterparty, WCM Pool LLC,
          dated February 7, 2008. The agreement provides for exclusive jurisdiction
          of the New York Courts. See Exhibit 12 at pages 12-13, paragraph 13(a)
          “Governing Law”, paragraph 13(b) “Jurisdiction” and the Schedule to
          the Master Agreement at page 6, paragraph (h) “Governing Law”,
          available at
          http://www.sec.gov/Archives/edgar/data/1474307/0001193125092205
          72/dex106.htm

       i.   Exhibit 13 is an ISDA Master Agreement executed during the Class
            Period by “Deutsche Bank AG, acting through its NY Branch”, and a
            U.S. counterparty, Nelnet Student Loan Trust 2006-1, dated February 21,
            2006. The agreement provides for exclusive jurisdiction of the New York
            Courts. See Exhibit 13 at pages 18, 35, 43 available at
            http://www.sec.gov/Archives/edgar/data/1352167/0000870156060000
            49/isda.txt.

       j.   Exhibit 14 is an ISDA Master Agreement executed during the Class
            Period by The Royal Bank of Scotland PLC (“RBS”), and a U.S.
            counterparty, Ally Auto Receivables Trust 2010-3, dated August 18,
            2010. The agreement provides for jurisdiction in New York. See Exhibit
            14 at page 13, 31, paragraph 13(a) “Governing Law”, paragraph 13(b)
            “Jurisdiction”, and the Schedule to the Master Agreement, paragraph (h)
            “Governing Law; Jurisdiction”, available at
            http://www.sec.gov/Archives/edgar/data/1477336/0001193125101941
            15/dex994.htm

       k. Exhibit 15 is a novation confirmation relating to an ISDA Master
          Agreement during the Class Period between Defendant The Royal Bank
          of Scotland PLC and a U.S. counterparty, GE Capital Credit Card Master
          Note Trust, dated September 1, 2010. New York law governs the
          agreement. See Exhibit 15 at page 3, paragraph 9(a) “Governing Law”
          and paragraph 9(b) “Jurisdiction”, available at
          http://www.sec.gov/Archives/edgar/data/1226006/0001104659100474
          84/a10-16874_1ex4d1.htm

       l.   Exhibit 16 is a transaction confirmation during the Class Period between
            Defendant The Royal Bank of Scotland PLC and a U.S. counterparty,
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                    The Bank of New York as trustee for the Supplemental Trust with
                    respect to Nationstar Home Equity Loan Asset-Backed Certificates,
                    Series 2007-C, dated June 7, 2007. New York law governs the trade. See
                    Exhibit 16 at page 15, paragraph (i), “Governing Law”, available at
                    http://www.sec.gov/Archives/edgar/data/1400096/0001162318070006
                    90/m0685exhibit991.htm

                 m. Exhibit 17 is a transaction confirmation during the Class Period between
                    Defendant The Royal Bank of Scotland PLC and a U.S. counterparty,
                    International Game Technology, dated May 5, 2009. New York law
                    governs the trade and the parties submitted to the exclusive jurisdiction
                    of New York. See Exhibit 17 at pages 24-25, paragraph (p), “Governing
                    Law” and paragraph (r) “Submission to Jurisdiction”, available at
                    http://www.sec.gov/Archives/edgar/data/353944/00014377490900193
                    4/ex10-32.htm

                 n. Exhibit 18 is a novation agreement during the Class Period between
                    Lloyds TSB Bank plc (the former name of Lloyds Bank PLC, a subsidiary
                    of Defendant Lloyds Banking Group PLC) and a U.S. counterparty,
                    Agilent Technologies World Trade, Inc., dated November 17, 2008. New
                    York law governs the trade. See Exhibit 18 at page 3, paragraph 7(a)
                    “Governing Law” and paragraph 7(b) “Jurisdiction”, available at
                    http://www.sec.gov/Archives/edgar/data/1090872/0001104659080715
                    55/a08-28660_1ex99d3.htm

                 o. Exhibit 19 is an ISDA Master Agreement executed on February 23, 2012
                    by Coöperatieve Centrale Raiffeisen-Boerenleenbank B.A. (Rabobank),
                    and a U.S. counterparty, NPC International, Inc. Though executed after
                    the Class Period, the agreement still evinces the same pattern in that the
                    agreement provides for the jurisdiction of the New York Courts. See
                    Exhibit 19 at page 20, 36, paragraph 13(a), paragraph 13(b), and the
                    Schedule to the Master Agreement, paragraph (h) “Governing Law”,
                    available at
                    http://www.sec.gov/Archives/edgar/data/748714/00011931251214663
                    1/d316605dex1019.htm

         11.     Attached as Exhibits 20 to 23 are ISDA’s annual Margin Survey reports

showing that during the Class Period, including for the years 2005 through 2009, the annual

percentages of OTC derivatives transactions using “Credit Support Annex” documents

governed by New York law and venue provisions were as follows:

12.        For the year ended 2005: 52.8% of Credit Support Annex documents (57,886) apply
      New York law and venue provisions. See ISDA Margin Survey 2006, Exhibit 3 at p.9,
      available at http://www2.isda.org/functional-areas/research/surveys/margin-surveys/.
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      Barclays Capital Inc. (who acted as an agent for Defendant Barclays Bank PLC in at least
      some ISDA transactions, see Exhibit 13), Deutsche Bank, UBS, and RBS participated in
      the survey. See Exhibit 20 at 13-14.

13.        For the year ended 2006: 53.8% of Credit Support Annex documents (71,371) apply
      New York law and venue provisions. See ISDA Margin Survey 2007, Exhibit 4 at p.10,
      available at http://www2.isda.org/functional-areas/research/surveys/margin-surveys/.
      Barclays Capital Inc. (who acted as an agent for Defendant Barclays Bank PLC in at least
      some ISDA transactions, see Exhibit 13), Lloyds TSB Bank plc (the former name of
      Lloyds Bank PLC, a subsidiary of Defendant Lloyds Banking Group PLC), Deutsche
      Bank, UBS, and RBS participated in this survey. See Exhibit 21 at 12.

14.        For the year ended 2007: 60% of Credit Support Annex documents (81,314) apply
      New York law and venue provisions. See ISDA Margin Survey 2008, Exhibit 5 at p.7,
      available at http://www2.isda.org/functional-areas/research/surveys/margin-surveys/.
      Barclays Capital Inc. (who acted as an agent for Defendant Barclays Bank PLC in at least
      some ISDA transactions, see Exhibit 13), Lloyds TSB Bank plc (the former name of
      Lloyds Bank PLC, a subsidiary of Defendant Lloyds Banking Group PLC), Deutsche
      Bank, UBS, and RBS participated in this survey. See Exhibit 22 at 11.

15.        For the year ended 2008: 57.8% of Credit Support Annex documents (87,336) apply
      New York law and venue provisions. See ISDA Margin Survey 2009, Exhibit 6 at p.7,
      available at http://www2.isda.org/functional-areas/research/surveys/margin-surveys/.
      Barclays Capital Inc. (who acted as an agent for Defendant Barclays Bank PLC in at least
      some ISDA transactions, See Exhibit 13), Lloyds TSB Bank plc (the former name of
      Lloyds Bank PLC, a subsidiary of Defendant Lloyds Banking Group PLC), Deutsche
      Bank, UBS, and RBS participated in this survey. See Exhibit 23 at 11.1

         16.     Attached as Exhibit 24 are excerpts of the trial testimony of Anthony Allen

in United States v. Anthony Allen and Anthony Conti, 14-cr-272.

         17.     Attached as Exhibit 25 is the allocution of Takayuki Yagami in United States v.

Yagami, 14-cr-272, ECF No. 16

         18.     Attached as Exhibit 26 is the allocution of Lee Stewart in United States v.

Stewart, 14-cr-272, ECF No. 46.




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 For the years ended 2009-2012, the ISDA Margin Survey reporting form changed and no longer gives a
breakdown of percentages of Credit Annex agreements with New York choice of law and venue provisions.

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        19.      Attached as Exhibit 27 is the allocution of Paul Robson in United States v.

Robson, 14-cr-272, ECF No. 21.

        20.      Attached as Exhibit 28 is Judge Rakoff’s decision in United States v. Anthony

Allen, Anthony Conti, et al., 14-cr-272, ECF No. 221.

        21.      Attached as Exhibit 29 is the sworn testimony of Michael Curtler in United

States v. Michael Ross Curtler, 15-cr-670.

        22.      Attached as Exhibit 30 is a copy of the list of foreign financial institutions

with representative offices in New York, including Defendant RBS, supervised by the New

York Department of Financial Services (“NYDFS”), generated on January 12, 2016.

        23.      Attached as Exhibit 31 is a copy of the list of foreign financial institutions,

including Defendants Barclays, Rabobank, Lloyds Bank PLC, and Deutsche Bank with

branch offices in New York supervised by NYDFS, generated on January 12, 2016.

        24.      Attached as Exhibit 32 is a copy of the Federal Reserve Bank of New York’s

“The Foreign Exchange and Interest Rate Derivatives Markets: Turnover in the United

States, April 2010,” available at

http://www.nowandfutures.com/d3/forex_swap_forward_dollar_currency2009-

fx_survey(fed).pdf.

        25.      Attached as Exhibit 33 is a copy of the Federal Reserve Bank of New York’s

“The Foreign Exchange and Interest Rate Derivatives Markets: Turnover in the United

States, April 2013,” available at

https://www.newyorkfed.org/medialibrary/media/markets/pdf/2013triennialreport.pdf.

        26.      Attached as Exhibit 34 is a copy of a civil complaint filed in Moon v. SKM,

Ltd., No. BC150995 (Sup. Ct. Cal. July 19, 1996), a matter related to In re Magnetic Audiotape


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Antitrust Litig., 334 F.3d 204 (2d Cir. 2003). The complaint describes the Magnetic Audiotape

price fixing conspiracy in greater detail.

        27.     Attached as Exhibit 35 is a copy of the Bill Jacket of the 1964 Chapter 849

session law amending, among other sections, N.Y. Banking Law § 200-b (BJ 1964, CH 849).

        28.     Attached as Exhibit 36 is a Bloomberg article written by Tom Schoenberg

and Suzi Ring titled Deutsche Bank Libor Probe Said to Rise to Former Trading Manager, published

on October 15, 2015.

        29.     Attached as Exhibit 37 is a Department of Justice press release entitled Two

Former Deutsche Bank Employees Indicted on Fraud Charges in Connection with Long-Running

Manipulation of Libor, published on June 2, 2016.

        30.     Attached as Exhibit 38 is the Department of Justice Indictment in United

States of America v. Matthew Connolly and Gavin Campbell Black, No. 16-cr-370.



Executed on June 3, 2016
White Plains, New York

                                                         /s/ Lee J. Lefkowitz_____
                                                         Lee J. Lefkowitz




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